Case 2:04-CV-02526-SHI\/|-tmp Document 16 Filed 08/31/05 Page 1 of 2 Page|D 24

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RLI INSURANCE coMPAN'Y, as Assignee ` CLE&<"JLL
of Arkansas Cable and Fiber Optics, Inc.,

Plaintiff,
v- Cv. No. 04-2526-Ma
JACO AIRFIELD CONSTRUCTION, INC.,

Defendant/Third Party Plaintiff,

'V.

RLI INSURANCE COMPANY, as Assignee
of Arkansas Cable and Fiber Optics, Inc.,

Third Party Defendant.

J'UDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Consent Order of Dismissal With Prejudice,
docketed August 24, 2005.

APPRO; ry l

SAM'UEL H. MAYS, JR.
UNI'I‘ED S'I‘ATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 16 in
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

